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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                                                    MEMORANDUM & ORDER
                                                     92-CR-00351 (EK)
                 -against-

 VICTOR J. ORENA,

                        Defendant.

------------------------------------x
ERIC KOMITEE, United States District Judge:

           Defendant Victor Orena seeks a de novo resentencing

proceeding.

     I.    Procedural History

           Orena was convicted of a multitude of offenses at

trial in 1992.    These crimes, committed in connection with the

so-called “Colombo Family War,” see Superseding Indictment ¶¶ 1-

10, ECF 38, included Racketeering, Racketeering Conspiracy, and

Murder-in-aid-of-racketeering.       Orena was also convicted of

using and carrying a firearm in relation to a crime of violence,

in violation of 18 U.S.C. § 924(c)(1); this last count of

conviction is at issue in the instant application.

           Judge Weinstein sentenced Orena to, among other

things, three life sentences on the most serious charges of

conviction, and also to five years — to run consecutively — on

the 924(c) count.     Orena’s convictions and sentences were then
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upheld on direct appeal, and again in connection with certain

subsequent petitions under 28 U.S.C § 2255 and Rule 60(b).

United States v. Orena, 32 F.3d 704 (2d Cir. 1994); Orena v.

United States, 956 F. Supp. 1071 (E.D.N.Y. 1997); Orena v.

United States, 299 F. Supp. 2d 82 (E.D.N.Y 2004).

           In 2020, Orena sought permission to file a successive

Section 2255 petition on two issues: he argued, first, that his

conviction under Section 924(c) was no longer valid following

the Supreme Court’s ruling in United States v. Davis, 139 S. Ct.

2319 (2019); and second, that newly discovered evidence

warranted vacatur of his conviction.         ECF 1849.    The Second

Circuit granted leave to file a successive Section 2255 motion

on the first issue, but declined to consider the second.            Orena

v. United States, No. 20-1984 (2d Cir. Sept. 24, 2020).

           In Davis, the Supreme Court held that Section 924(c)’s

“residual clause” — which defines “crime of violence” as a

felony “that by its nature, involves a substantial risk that

physical force against the person or property of another may be

used in the course of committing the offense” — was

unconstitutionally vague.      Davis, 139 S. Ct. at 2323-24.        On

remand in the instant case, the government conceded that the

924(c) conviction needed to be vacated in light of Davis.             ECF

1852.   The government also conceded, at least initially, that

Orena should be resentenced.       Id.

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           At Orena’s request, however, this court held his

request for resentencing (and certain other relief) in abeyance

pending the resolution of his separate petition for

compassionate release.      That motion was denied in October 2021.

See ECF 1876.    Subsequently, this matter was delayed on a number

of additional occasions, generally at the request of Orena’s

counsel.   See ECF 1925, 1950, 1953.

           Following the Second Circuit’s decision in United

States v. Pena, 58 F.4th 613 (2d Cir. 2023), cert. denied, 144

S. Ct. 147 (2023), the government revisited its position on

resentencing: it is not, they now contend, required.            ECF 1926,

1952.   Orena’s counsel agreed at oral argument that, following

the Pena decision, this court has the discretion to conduct a de

novo resentencing or not.      For the reasons that follow, no

resentencing proceeding will be held.         Instead, the court issues

an amended judgment herewith.

     II.   Discussion

           Relying on the “plain text” of Section 2255, Pena held

that district courts may, in their discretion, opt not to

conduct a de novo resentencing when a conviction is vacated

following a Section 2255 motion, at least so long as the

resentencing would be a “strictly ministerial” affair.            Pena, 58

F.4th at 615.



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           The procedural posture in which Pena was decided was

perhaps distinguishable from this matter in one respect: Pena

had been sentenced to multiple mandatory life sentences, in

addition to the sentence on the vacated conviction, id., whereas

Orena’s life sentences were not mandatory.          But I do not read

Pena to indicate that such a distinction would eliminate the

discretion embedded in Section 2255.         Indeed, if the mandatory

life sentence were a necessary condition for the exercise of

such discretion, that would not really amount to a

“discretionary” standard at all.

           In exercising my discretion to proceed with a

corrected judgment, rather than de novo resentencing, I note the

following considerations.      In seeking resentencing, Orena relies

— first and foremost — on his age and health challenges,

including advanced dementia.       Given these developments, Orena

argues (credibly) that the risk of recidivism is markedly lower

than it was at his original sentencing.         But this court already

considered Orena’s health issues and recidivism risk in denying

his motion for compassionate release.         ECF 1876.    In that order,

I recognized that Judge Weinstein of course knew and expected

that a life sentence would extend through Orena’s old age and

infirmity, and that the factors of just punishment, the violent

and deadly nature of the offense conduct, and the need to afford

adequate deterrence nevertheless dictated that a life sentence

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was the only appropriate option.           For the reasons set out in

this court’s order on compassionate release, those factors do

not merit de novo resentencing.           Id.

           Orena also argues de novo resentencing is appropriate

because the United States Sentencing Guidelines, which were

mandatory at his original sentencing, are now advisory.            But as

the government observes, Judge Weinstein clearly determined that

a life sentence was appropriate on a Section 3553(a) analysis,

rather than purely as a matter of the Guidelines’ application.

As he wrote in his comprehensive sentencing memorandum:

     The Guidelines are of little assistance in these
     cases. They focus myopically on mechanical aspects of
     the offenses. Their formulaic scheme fails to account
     for the overall picture of these defendants developed
     during three trials and in three thorough and
     exhaustive presentence reports. These criminals must
     be punished in the proper context of their lives and
     their overall actions, not in the vacuum of “units,”
     “offense levels” and “adjustments” created by the
     Guidelines.

United States v. Sessa, et al., 821 F. Supp. 870, 875 (E.D.N.Y.

1993), aff'd sub nom. United States v. Orena, 32 F.3d 704 (2d

Cir. 1994).

           Orena’s final argument is that this court should

exercise discretion to conduct a de novo resentencing in

consideration of certain “new evidence” that has come to light

since 1992.    ECF 1927.    This is a reference to allegations of

FBI corruption that, among other things, included a state-court


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indictment (but not conviction) of an FBI agent involved in

Orena’s initial prosecution.       In brief, Special Agent Lindley

DeVecchio, who played a leading role in the Colombo family

investigation that led to Orena’s trial, was charged with murder

in connection with alleged investigative misconduct involving

his relationship with Gregory Scarpa, a co-conspirator and FBI

informant.     See, e.g., United States v. Persico, 92-CR-0351,

1997 WL 867788 (E.D.N.Y. Mar. 13, 1997), aff'd in part, rev'd in

part sub nom. United States v. Orena, 145 F.3d 551 (2d Cir.

1998); see also ECF 1927 at 8-15; People v. DeVecchio, 851

N.Y.S.2d 65 (N.Y. Sup. Ct. 2007).         Among other things, DeVeccio

was alleged to have provided Scarpa with confidential documents

and law enforcement surveillance, including believed locations

of Scarpa’s potential rivals and targets, and to have failed to

report Scarpa’s ongoing criminal activity, of which he was

aware.   Id.

           This argument fails for two reasons: first, the

evidence is not as “new” as Orena would have it: it was the

subject of two hearings presided over by Judge Weinstein, one in

1997 and another in 2003.      See ECF 1223, 1728.      In his 1997

opinion denying Orena’s motion for dismissal of the indictment,

Judge Weinstein addressed facts related to the alleged

conspiracy between DeVecchio and Scarpa, and wrote that to

conclude that “the undisclosed information is material and a

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Brady violation exists” would require “crossing the line from

rationality to paranoia.”      Orena v. United States, 956 F. Supp.

1071, 1097 (E.D.N.Y. 1997).       And second, as the government

persuasively argues, challenges to the validity of Orena’s

conviction ought to be brought via a Section 2255 petition, and

Orena currently has none pending on this subject.           See United

Stats v. Amato, 48 F.4th 61, 63 (2d Cir. 2022) (“[F]acts and

arguments that purport to undermine the validity of a federal

conviction must be brought on direct appeal or pursuant to 28

U.S.C § 2255 or § 2241.”); United States v. Antney, 17-CR-229,

2021 WL 4502478, at *5 (E.D.N.Y. Sept. 30, 2021) (noting that

the proper procedure for challenging the validity of a

conviction is on direct appeal or through a habeas petition).

            Though Orena does not heavily rely on it, there is one

additional change from 1992 that explains the potential need for

resentencing in the first place: the vacatur of his 924(c) and

sentence.    But that conviction was a minor factor, at best, in

the total picture of Orena’s trial — plainly insufficient to

require resentencing of the eight other counts of conviction.

            Orena’s request for de novo resentencing is denied.

An amended judgement, which removes Orena’s conviction and

sentence on Count Eight, is issued herewith.



            SO ORDERED.

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                                     /s/ Eric Komitee______
                                   ERIC KOMITEE
                                   United States District Judge


Dated:     March 20, 2024
           Brooklyn, New York




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